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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

                                                  )
 In re:                                           )
                                                  )
 GUNNISON VALLEY PROPERTIES, LLC                  )        Case No. 24-15052-JGR
 EIN: XX-XXXXXXX                                  )        Chapter 11
                                                  )
                Debtor.                           )

    NOTICE OF MOTION FOR ENTRY OF ORDER AUTHORIZING DEBTOR TO
        ASSUME DEVELOPMENT MANAGEMENT AGREEMENT WITH
                      FIVEFOUR COMPANY, LLC


                      OBJECTION DEADLINE: NOVEMBER 1, 2024

       YOU ARE HEREBY NOTIFIED that Gunnison Valley Properties, LLC (“Debtor”) filed
a Motion for Entry of Order Authorizing Debtor to Assume Development Management Agreement
with FiveFour Company, LLC (the “Motion”) with the Bankruptcy Court. Pursuant to the Motion,
Debtor seeks authority to assume a Development Management Agreement (“DMA”) with
FiveFour Company, LLC (“FiveFour”).

       Debtor owns Gunnison Rising, a 600 acre, fully-entitled, multi-phased, mixed-use
development approved for 1,700 residential units, more than 350,000 sf of retail, 350,000 sf of
industrial space, plus acreage for commercial space and an RV park, all adjacent to Western
Colorado University (the “Project”) in Gunnison, Colorado. The Project is Debtor’s most
significant asset and represents many years of work to assemble the real estate, work with key
stakeholders, including the City of Gunnison (the “City”) to create the conceptual vision for the
Project, obtain the necessary approvals, including annexation into the City, perform the necessary
design and engineering, and construct infrastructure in the short excavation season in Gunnison.

       As a multi-phase development, the Project is intended to be completed in discrete portions
over time. The next phase of the Project to be completed is a residential portion, including single
family, multi-family and income restricted housing. Based on current entitlements for 1,700
residential units, Debtor believes that a substantial amount of residential inventory could be sold
quickly after becoming available. However, certain additional infrastructure work at an estimated
cost of approximately $15MM remains to be completed before Debtor can obtain approval of the
subdivisions for the residential units and before Debtor can sell residential lots.

        FiveFour is a real estate development company in Denver, Colorado. Jeff Prosapio is the
president and founder of FiveFour and Mr. Propsaio is the sole member and agent of FiveFour.
FiveFour performs its services exclusively through Mr. Prosapio. Mr. Prosapio has more than 30
years of development and construction experience with specific expertise in institutional
investment quality multi-family, mixed-use, transient-oriented, condominium and hotel/hospitality
related real estate. Mr. Prospaio has overseen the development of more than $750 million in
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commercial real estate during the course of his career. Mr. Prosapio is not an equity interest owner
of Debtor but was appointed a “manager” of Debtor in May 2023 by Byron R. Chrisman and
Richard Bratton, who are the majority owners of the equity interests in Debtor and are the other
“managers” of Debtor.

      In May 2022, Debtor entered into a Development Management Agreement (“DMA”) with
FiveFour, a copy of which is attached to the Motion as Exhibit 1, and as amended, to provide
development management services for the Project including but not limited to the following:

               a.      Review, assess, and document the status of the Project;

               b.     Develop a management plan for the remainder of the Project with
       recommendations for Debtor’s consideration with respect to [i] Project staffing, [ii] all
       planning and development activities, including phasing, schedule and budget, [iii]
       supervision of design services, construction and construction management services, [iv]
       pricing, marketing and sales, sequences, schedules, budgets, critical milestone dates,
       schedule contingencies, and responsible parties for major design, pricing, construction, (the
       “Recommended Project Management Plan”); and

               c.     Use commercially reasonable efforts to implement all aspects of the
       Recommended Project Management Plan that are approved by Debtor under Debtor’s
       direction and control.

The scope of FiveFour’s services under the DMA are more fully described in the DMA. Part of
the arrangement between FiveFour and Debtor was that FiveFour would work exclusively for
Debtor. After the DMA was executed, FiveFour and Prosapio closed out its other project
engagements and in fact have worked exclusively for Debtor since the 3 rd quarter of 2022. The
initial term of the DMA expired on October 31, 2022 and Debtor and FiveFour agreed to and have
been operating under the DMA on a month-to-month basis on the same terms as set forth in the
DMA since that time. Pursuant to the DMA, FiveFour is entitled to receive $25,000 per month,
billed at the beginning of each month, and payable on or before the 15 th of the month, and no later
than the 20th of the month. Debtor is also responsible to reimburse FiveFour for all reasonable
expenses incurred by FiveFour and approved by Debtor. FiveFour is required to submit monthly
expense reports with back up for any reimbursement.

       Debtor asserts that assuming the DMA and ensuring the continued services of FiveFour and
Prosapio are essential to Debtor being able to complete the Project or otherwise realize the value
of the Project through a sale of all or part of the Project. Moving the Project forward, either through
a sale of some or all of the Project, or by the Debtor continuing with the Project will require the
completion of certain infrastructure work and subdividing, which requires the services of FiveFour
and Mr. Prosapio. Even selling pieces of the Project, to the extent feasible, would require Mr.
Prosapio and FiveFour’s assistance, given the complex nature of the Project, the status of
infrastructure, and anticipated subdivision process. At this point in the bankruptcy case, and given
FiveFour and Mr. Prosapio’s detailed historical and operating knowledge of the moving pieces
and complexities of the Project and positive relationships with key parties in interest, Debtor
believes it is necessary and in the best interests of the bankruptcy estate and the creditors to assume
the DMA as amended.
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       Debtor does not anticipate any amount will be owed for cure. Prior to the Petition Date,
FiveFour billed Debtor for the month of August but was not paid for August services until
September 6, 2024. Because Debtor seeks to assume the DMA, Debtor intends to treat this payment
to FiveFour as a cure payment under 11 U.S.C. § 365(b)(1)(A). Post-petition, FiveFour is being
paid in accordance with the terms set forth in the DMA.

      If you oppose the Motion or object to the requested relief, your objection and request for
hearing must be filed on or before the objection deadline stated above, served on the movant at the
address indicated below, and must state clearly all objections and any legal basis for the objections.
The Court will not consider general objections.

        In the absence of a timely, substantiated objection and request for hearing by an interested
party, the Court may approve or grant the requested relief without any further notice to creditors
or other interested parties.

Dated: October 18, 2024                        Respectfully submitted,

                                               ONSAGER | FLETCHER | JOHNSON | PALMER LLC

                                               s/ Joli A. Lofstedt
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